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                                                                                                 i-lr   rii*ti   St:;,îes []isi:r'ici Çnt l; i
                                                                                                        Dirtrict of Connectic;'t
                                                                                                        r,:i   LED    A,T, H¡\FT-[,ËÜ iJ D

 1                                       IINITED        DISTRICT COI]RT
                                                    STITTES                                                                                  lt
                                                                                                                                             L,

                                            DISTRICT OF CO¡{NECTICUT
1


J
     I\'ELSON VALLE,                                         CASE NO:            lLcv        2
                      Plaintifl                              Eair Debt CollectionPractices         þl
4
                                                             CT Anfair Tr sde    snú D ecepftv e Pr     actice s
                            Y.
 5

     GRDEN TREE SERVICING, LLC.,                                           VERIX'IED CLAIMS
6
                                                                      TRIAL BY JT]RY REQUESTEI)
7
                       Defendant(s).
                                                                           FEBRUARY 22Ã 2Û16
 8

 9                   NOTICE OF PRTVATE ENFORCEMENT . CONST]MER PROTECTION

10            The following is furnished pursuant to Connecticut state statute and encouraged by federal policy
     for data gathering purposes. This action is private in nature and public in scope and represents a private
11   Consumer's good faith effort to effectuate legislative intent. In the interest of public policy, the Consumer
     seeks to perfect his private right by publicly tasking the services of the federal Court here in the District
12
     of Connecticut. Within the Court's judicial review, the Consumer seeks to ratiff his administrative
13
     findinç by way of an ORDER adjudging liability on part of the defendant for breach of federal law.r This
     notice is furnished so aS to provide basis, in whole or in part, for further investigations if such
T4   investigations are deemed so warranted in the interest of consumer protection and public policy.

15   Respectfully,
     Nelson Valle
l6
     Cc:      Consumer Financial Protection Bureau            Cc.       Connecticut Offrce of Attorney General
l7
              P.O. Box 4503                                             55 Elm St,
18            Iowa City,lowa52244                                      Hartford, CT 06106
              Attn: Offrce of Compliance                               Attn: Offrce of Compliance
t9
20    Cc.     Connecticut Offrce of Consumer Protection
              165 Capitol    Ave#3,
2t            Hartford, CT 06106
              Attn: Offrce of Compliance
22

23                                          CERTIFICATE OF SERVICE
24           I certiff that a true and correct copy of this petition was furnished to the entities/authorities listed
     above by US mail or otherwise forwarded by electronic means.
25

26

27

28   tAnd pendant claims.

     VER]FIEDCLAIMS                                                                              Nelson Valle
     -1                                                                                          c/o ó6 Montowese St.
                                                                                                  Hartford, CT   061 14
                                                                                                  +305.791.8959 phone
                                                                                                  rw22(àlive.com
                       Case 3:16-cv-00277-SRU Document 1 Filed 02/22/16 Page 2 of 11




                                                     TINITED STATES DISTRICT COI]RT
 1
                                                       DISTRICT OF' CONIYECTICUT
2
     NELSON VALLE,                                                               CASE NO:
 J
                               Plaintifl                                         Fair Debt CollectionPractices.!¡ct
4                                                                                CT Unfair Trade AndDeceptive Prqctice                          s
                                    v.
 5
                                                                                                   VERMMD CLAIMS
 6   GREEN TRDE SERVICTNG, LLC.
                                                                                            TRIAL BY JURY REQUESTEI)
 7                           Defendant(s),
                                                                                                  FEBRUARY            22"ô 2016
 8

 9   FOR OURCAUSE WE THE CONSUMERAFFIRM,

l0                                                       I. TheACT2 - Opening                Scene3

11   O.4            Something is notten, but contrary to Ma¡cellus's suggestion to Horatio, it's not in Denmark.s

t2   Rather, it's in the deceptive, salacious and oppressive debt collection practices that cause irreparable harm

13   to the least sophisticated consumer and without shame or restraint, even seeks to inappropriately touch

t4   our honorable lady justice herself              - right here in Connecticut.
15                                           II. Private Enforcement - PreliminarT FindingsÉ
                                                                                            o'Consumer" or
t6   2.1            This private enforcement action is brought by Nelson ValleT ("Valle" or

t7   '?laintiff')        against Green Tree Servicing, LLC.,8 ("Green Tbee"). Green Tree is at all times deceptively

l8   seeking to collect an alleged ôebt andto enforce an alleged interest in real properly (collectively, "claim")

l9   in favor of BankofAmerica, N.A.

20                                                     III. Relevant Factual Background
2l   3.1            Green Trce's communications identifr a debt alleged to be related to an, "account originating

22   with Countrywide Home Loans,Inc.," regarding a certain property at 66 Montowese Süeet in Hartford,
     2see
            -   15 IJ.S.C 91692 et seq.
23   3However
                inartfi¡lly plead, Valle respectfirlly demands his pleadings be held to a less stringent standard than formal pleadings drafted by lawye¡s.
     See generally flaines v Kerneti (1972) (citations omitûed)
24   4This Court bæ
                       ¡urisdiction by feder¡l ouestion at 28 U.S.C. $1331; At l5 U.S.C. 1692k(d); supplemental jurisdiction exists 28 U.S.C.
     91367 andYenue is properpursuantto2SU.S.C. 91391b andb(2) Lr ftatValle is domioiledhere in Connecticut andbeoause defendants'
25   colleotion communications to the Plaintiffwæ received in this district.
     5William
               Shakespeare, 11,4 MLET Act I, Sc. 4.
     6Jacobson y. Healthcare Fin. Sens., (nc.,516 F.3d 85, 9l (2d Cir. 2008) (noting how the FDCPA "enlists the efforts ofsophisticated
26
     oonsumers , . . æ 'private attomeys general'to aid their less sophistioated counterparts, who are unlikely themselves to bring suit under the Act,
     but who are assumed by the Act to benefit Aom the detenmt effect of civil actions brought by others").
27   ?Nelson
             Valle is a natwal percon subject of the communications/enforcement actions at issue and a consumer within the meaning of the FDCPA.
     8G¡een
            Tree Servicing LLC., according to the Connecticut Deparbrent ofBanking, is a collection agency with a business address at 7360 S.
28   Kyrene Rd. Tempe, Arizona 85283.

     Vf,'RIFIED     CLAIMS                                                                                                    Nelson Valle
     -2                                                                                                                       c/o 66 Monlowese St
                                                                                                                              Hartford, CT 06114
                                                                                                                              +305.791.8959 phone
                                                                                                                               rw,22@live.com
                    Case 3:16-cv-00277-SRU Document 1 Filed 02/22/16 Page 3 of 11




 1   Connecticut 06114 arising from a consumer transaction primarily for personal, famìly or household
 )   purposes with said        entity-said alleged debt defaulted, according to Countrywide, on September 13ü2007
 J   was never reinstated and treated as such thereafter.

 4   3.2          According to Green lhee, they arnve               nprivate cofivîerce          on or about September 27ü 2012.

 5   3.3          Green Tlee arrives inprivate commerce unrecognizedby contract ot consent.e

 6                          IV.
 7   4.1          The communications at issue are addressed to Valle in a personal capacity, rather than in a

 8   corporate or business         capacþ        Ex. A1 and A2

 9   4.2          The communications at issue identiff a debt alleged to be related to a certain property at 66

10   Montowese St. in Hartford, Connecticut to which the Consumer is the legal owner. Ex. B

11   4.3          The communications at issue identify a debt alleged to be related to another consìrmer Brunilda

t2   ValleCastro, to whom Valle has a Durable Powers ofAttorney ("DPOA")--a relationship legally

l3   recognized by the State of Connecticut. Ex. C

t4   4.4          Green lhee was aware of Valle's contract-DPOA, with ValleCastro and his ownership of the

15   subject property at all time material.

I6                A. First Private Communication-April 24 2015
t7   4.5          On or around     April 24. 2015. the Plaintiffreceived              a private communication    from an entity that

l8   identified themselves as Green Tiee. The communication was addressed to Valle.'¿

t9   4.6          The communication identifies a debt alleged to be related to an alleged creditor                    -   Bank of

20   America, N.A.
2l   4,1          The communication identifies an address at 1515 W. 14r'Süeet, Tempe AZ 85381 whereinVatle

22   could contact Bank of America, N.Athe "orvner of the accounf'.

23   4.8          The communication represents to the Consumer that Green Tbee has the authority to act on

24   behalf of Bank ofAmeric¡, N.A. regarding Bank of America N.A's "ownership of the account."

25   4.9          The communication represents that Green Tree is a'Ì.{ote Holder" effective on September 16ü.

26   2012 and that "the account be billed 8260.17 per month for payment of the lender's policy." (emphasis)

27   eGiven
              directly from the Consumer or the Consumer's principal in regards to any performances.

28   loEx.   AI
     VBRIFIED CLAIMS                                                                                              Nelson Valle
                                                                                                                  c/o 66 Montowese St.
                                                                                                                  Hartford, CT 061 14
                                                                                                                  +305.791.8959 phone
                                                                                                                  rwJ2(ò.live.com
                  Case 3:16-cv-00277-SRU Document 1 Filed 02/22/16 Page 4 of 11




 1   4.10       The communication ìndicates that Green Tree requested multiple documents from the Consumer

2    as a prerequisite to properly investigate the request related to a validation         ofa debt.
J    4.ll       The communication does not announce or otherwise contain ajurisdictional statement

4    [mandatory disclosure] that Green     Ïlee   is a debt collector.

 5              B. Second Private Communication-May          11'h 2015

 6   4.12       The second private communication dated May I 1. 20 I 5 identifies a debt alleged to be related to a

 7   certain, "Monthly Billing Statemenf'wherein the said debt is due and owing payable to Green Tþee in

 I   favor of Bank ofAmerica, N.A.rl

 9   4.13       Valle's name appears on the second communication in both address caption and the payment

10   coupon.

11   4.14       The communication, appears to have ajwisdictional statement, announçing Green Thee's

t2   capacity in relation to the alleged debt they are attempting to collect. It states, "Thß communicution is

13
     from a debt collecton It is an attempt to collect    ø debt and øny   ínformation oblained will be usedfor

14   lhal purpose,"

15   4.15       The communication's mandatory disclosure causes a belief in the Consumer that Green Tree's

T6   capacity in the Consumer's ptivate commercial affairs is that of a debt collector attempting to collect a

l7   debt As the communication itself presupposes Green TÞee's requirement to comply with a federal
18   statute.

T9   4.16       The communication indicates an originating address PO Box 6172 inRapid City, SD 57709

20   therein given rise to the belief in the Consumer that the communication originated from said address and

2t   accordingly constitutes the use of the mails.

22   4.17       Valle could not verifu Grcen Tlee's location licensure with the Connecticut Department                     of
23   Banking as said location was not registered.

24   4.f8       The Connecticut Department of Banking's ¡qission statement establishes thalt2 -

25

26

27
     rl4x A2
28   thæ                                                                                   ocbber zs" zors¡
            -                                                              (last visit€d

     VERIFTEDCLAIMS                                                                                     Nelson Valle
                                                                                                        c/o 66 Montowese St.
                                                                                                        Ilartford, CT 06114
                                                                                                        +305.791.8959 phone
                                                                                                        rux22(ã.live.com
                    Case 3:16-cv-00277-SRU Document 1 Filed 02/22/16 Page 5 of 11




 1
                  "The missbn of the l)epartment of Banking b to protect r¡sers of financial
2                 s ces from unlawful or improper practices b¡'requiring that regulated
                  eutities and individuab adhere to the lan; assuring the sale$' and soundness
3
                  with the public and other st¡keholders, and promotiug cod-efücient and
4                 efkctive regulation."

 5

6
     4,19        According to the Department of Banking both communications from Grcen Tlee originated from

 7   unlicensed locations therein at opposite to said mission statement.r3

 8   4.20        The communication from Green Ihee's unlicensed offrce directed Valle to an alleged offrce                                          of

 9   Bank of America, N.A. in Arizona that could not be verified by Valle by US mail as said mail was

l0   returned deliverable. Ex.            I)
11
     4.21        Under "Delinquency Notice"la it states,                 'Aftrst nolice or
t2
     account hos occurred"
t3
     4.22        This representation caused the Consumer confrrsion, specifically-- "What notice? What
t4
     foreclosure?"1s
15

t6
     4.23        Valle sought public records to veqifr if an instrument was filed and/or recorded effecting Valle's

t7   properlyr6 so as to support Bank of America, N.4., alleged claim asserted by Green TÞee.

l8   4.24        Valle was able to determine that none exists publicly in favor of Bank of America, N.4., Valle

t9   incurred time and cost nonetheless.

20                                              V. Conduct Deemed trl¡ryal Under Federal Law
2t
                 c.
22
     5.1         Green lhee's "first noticeo', ,according to their communication, occurre d on public record July
23
     15d'2014. in favor of Bank ofAmerica, N.A. therein deceptively naming Bank of New York Mellon.
24
     Ex. E
25

26
     r3And
             Connecticut publio policy. This habitual collection practice has been brought to the attention ofConnecticut enforcement authorities.
27   taE".
          A2
     lsAûer
            which the Consumer realized the obvious.
28   l6Presumably between     20ll   to 2015.

     VERIFIED CLAIMS                                                                                                        Nelson Valle
     -5                                                                                                                     c,/o 66 Montowose St.
                                                                                                                            Hartford, CT 06114
                                                                                                                            +305.791.8959 phone
                                                                                                                             rw22@ljve.com
                  Case 3:16-cv-00277-SRU Document 1 Filed 02/22/16 Page 6 of 11




 1
     5.2        During the interim---collection on the public record, Green Tree tasked another debt collectorr?

     to aid them with their other "filings". These two debt collectors regularly assist each other in collecting
 2

 3   alleged debts and enforcing alleged interests in real properly through the use of Connecticut Tribunals.

 4   Ex.   X'


 5   5.3        On or aboutNovember 30ü 2015. after unsuccessful attempts by the Consumer in invoking

 6   federally guaranteed protections, Bank of America, N.A.-- wittr the assistance Green Tfee, perfected
 7
     their collection action in a Connecticut Tribunal.
 I
     5.4        During the interim, Green Tþee "frles" s\üorn statements in a Connecticut Tribunal allegedly in
 9
     favor of Bank of New York Mellon and is rewarded a "strict foreclosure" ORDER to benefit Bank                      of
10
     AmericarN.A. Ex, K
11

t2   5.5        Green Tlee at all times had knowledge that their representations were false, deceptive or

13   otherwise misleading to the Consumer.

l4   5.6        Green Tree knew a contraclagency existed between Valle and his principal and acknowledged

15   such related to the communications/collection at issue.

t6   5.7        Green Thee gave conflicting information to Valle directing him to multiple "creditors".
l7
l8
     5.8        Bank of Americao N.A is not the creditor related to the alleged debt at issue,

l9
     5.9        Green Tlee's communication and conduct gave rise to the belief in the Consumer that Green

     Ttee maint¿ined that Bank of America, N.A. is the creditor related to the alleged debt at issue.rs
20

2t
     5.10       Green Tlee is not the creditor related to the alleged debt at issue.

))   5.11       Green Treef s communication and conduct gave rise to the belief in the Consumer that Green

     Thee themselves maintained that they are the creditor related to the alleged debt at issue.re
23

24
     5.12       Green Ïbee's deceptive and/or conflicting communication and conduct made it impossible for

     Valle to affrrmatively determine who was the purported creditor througþ whomValle could resolve the
25
     alleged claims at issue or otherwise interfered with his ability in achieving the same.
26

27   l?Bendett & McHugh, P.C out of Farmington, CT.
     rsEvidenced al F.x. AI utd A2
28   leEvidenced al Ex. A I ud A2

     VERIFIED CLAIMS                                                                             Nelson Valle
     -6                                                                                          c/o 66 Montowese St.
                                                                                                 Hartford,CT 06114
                                                                                                 +305.791.8959 phone
                                                                                                 rw22@llive.com
                     Case 3:16-cv-00277-SRU Document 1 Filed 02/22/16 Page 7 of 11




 1   5.13       Green Tree furnished information to the Consumer directing a"Pay                              off'   to Bank of New       York
 )   Mellon publicly.2o

 3
     5.14 On or aboutMav 14h 2015, Valle sought to afürmatively confirm with Green Tfee their position
     as   to whom was the alleged creditor claimant. Green Tfee furnished information to the Consumer
 4

 5   directing a"Pay      of     in form   of bank-wiring good funds                to Bank ofAmerica, N.A. through Green

 6   Tree's account. Ex.         L
 7   5.15       Valle acted on Green Tþeers direction to contact Bank ofAmerica, N.A. but was unsuccessful in

 8
     affrrming their [BoA's] alleged claim privately nor was the Consumer successful in invoking federal
 9
     protections to determine Bank of New Yorkrs claim publìcly--$rcen T[ee was directly involved in both
10
     private and public communications and collection advancements.2r
11
                                          VI. Private Enforcement - Affirmative F'indings
t2
l3
     6.1        As an immediate matter, Green Tree has already been cited and fined
                                                                                                                -including
                                                                                                                                being enjoined

     in a permanent iniunction,22 withthe U.S Government by way of the Federal Trade Commission and
t4
15   Consumer Financial Protection Bureau, for their illegal collection practices. Many of the same illegal

t6   collection practices of which are also herein asserted by the Consumer.

t7   6.2        In analyzingwhether claims under the FDCPA and CUTPA were                                  stated, Valle closely considered

l8   the standards as articulated -
t9
           a.   As to the federal Fair Debt Collections Practices Act - Carringtonu. Chrysler Financial
20              Corporation.zs

           b.   As to Connecticut's Unfair Trade and Practices Act - Ventres v. GoodspeedAirport, LLC,.u
2t
22
     6.3        In verifuing Green Thee's capacity under federal law as a debt collector, the Consumer closely
23
     considered that -
24

25
     2oEvidenced at Ex K. And through Green Tree's Conneotiout BAR card carrying debt collectors.
     2rAssuming that the collection action at issue isn't one and the same.
26   22npnl2l20l5 District of Minnesota   See   -                                                                                      (lastvisited
     Feb. 8ù 2016)
27
     23No. 10-CV-1024 NGG WP. 2010      WL   13716tr,4, at i'1 (E.D.N.Y   Apfil ó12010 (Garaaufis,   J.)
28   24275 Coff¡'.l05, 154-55 (2005)


     VERIFIED CLAIMS                                                                                                    Nelson V¿lle
     -1                                                                                                                 c,/o 66 Montowese St.
                                                                                                                        Hartford, CT 061 14
                                                                                                                        +305.791.8959 phone
                                                                                                                        rw22@.live.con
                     Case 3:16-cv-00277-SRU Document 1 Filed 02/22/16 Page 8 of 11




          a.       Green Tfte did not offer or extend credit creatingthe alleged debt at issue-presumably it was
 1
                   Countrywide.
2         b.       Green Tlee represents that the debt at issue is owed to another - Bank of America, N.A
                   [privately] and Bank of New york Mellon [publicly], utilized communications from an address
J                  outside of Connecticut and requested payment therefrom thus constituting the use of the mails
                   for commerce as evidenced in Er. AI andA2.
4
          c.       The principal purpose of Green Tlre's business is the collection of debts as evìdenced under
 5                 their registration as a collection agency evidenced in the listing with the Connecticut Department
                   of Banking.2s
 6
          d. Green TÍee regularly files collection lawsuits so as to collect debts [or altematively enforce
             alleged interest in real property] due to another as evidenced in the Connecticut Judicial dockets
 7
                           1000 cases.26
                   -over
 8        e.       To the extent that Green Ttee claims that the alleged debt at issue is owed on atr assignment or
                   transfer, said "assignment" and/or transfer "occuffed" a-fter default- September 13th 2007.27
 9
          f.       Green Ttee utilized ajurisdiclional disclosure in a communication affirmatively announcing
10                 that they are debt qollectors. Ex.      AI
11   6.4           In determining the viability of a deception claim implicating Green Tree'spublic concealment of
t2   its agency to Bank of America, N.4., Valle closely considered a pattern of conduct by Bank ofAmerica,

l3   N.4., which is open for public view and readily accessible by anyone with an interest-victims or
l4   vanguards, including the following direct involvement in the deceptive collections at issue-

l5            a.   [201U Bank of America N.A.'s employee was directly responsible for importuning a resultant
                   document2s into public record in Harfford's Town Clerk Offrce giving "legal effect" to said
t6                 document. Soon after said employee was apprehended by California authorities and convicted                                 of
t7                 nine felony     counth/orgery etc. Er G
              b.   [20111 Bank of Amcrica N.A,'s debt collection firm of Bendett and McHugh, P.C, has since
18                 November l4th of 201I , privately supported Green Tfee's representation that Bank of America,
                   N.A. ha.s the authority to enforce an alleged interest related to Valle's property. Ex. H
t9
              c.   I20lll Bank ofAmerica N.A.'s settlement with 49 state attomey general (includingAtfy. Gen.
20                 George Jepsen on behalf of the Consumers in Connecticut.) addressed similar misconduct
                   asserted here by the Consumer. Ex.           I
2t            it. The U.S. Department of Justice's and Bank of America, N.A. reached a historic
                  $16,000,000,000 dollar settlement for financial fraud leading up to and during the financial
22
     25See-   http,//www .ct.govldoblcwplvrew.asp?a=2233&q-297a72&AobNAv-GlD- 1663 (l¿st visited Nov. 23d 2015)
23   26
        See - htp://civilinçiryjud.ct.gov/Prt¡Search.aspx (last visited Nov. 23il 2015)
     2rSee generally - Alibranài v. Fin. Outsourcing Sems., 1nc.,333 F.3d 82, 86 (2d Cir. 2003); Note: Ba¡tk   ofNew York Mellon denies that Green
24   tree collects for them.
     28This type ofdocument is frequently used to gain acceptance ofa conclusion that the dooument doesn't actually prove. Fumishers ofthese
25   documents act as ifthe conolusion represented by the document actually proves itselfwithout the requirement ofsubstantiating evidence. This, of
     course, is not true as these types of documents a¡e not self-authenticating. These tlçes of documents oontain no intrinsic fuths and only raiso
26   questions not yet answered by the entity purporting to assert tlre allegations therein. ln other wotds, what were tìe ultimate faots that led to the
     document being created? An "Assignment ofMortgage" in the public records, is proofthat it \ryas created and recorded. It is not proof, however,
27   that any actual t¡ansfø occuned or that the party therein referenced [Bank of New York Mellon] wæ ever owed any debt. rWhether this
     dooument helps prove anything larger than its mere existence is impossible to know without substantiating the æsertions therein-via ve¡iñcation
     and/or documenøtion by the required stah¡tes/contract as to the circumstances related to its c¡eation. Furthermore, within the ambit of the Court's
28   rules ofevidence this document would need to be properly authenticated by an afüanlassignor so as to properly lay its foundation.


     '8
     VERIFIED      CLAIMS                                                                                                   Nelson Valle

                                                                                                                            i*f"fåïi:ì:;'
                                                                                                                            +305.791.8959 phone
                                                                                                                            w¿2ølwS.con
                    Case 3:16-cv-00277-SRU Document 1 Filed 02/22/16 Page 9 of 11




                  crisis.2e Presumably, according to Green T[ee, the same               toxic debts at issue herein.
 1

            e.    12015ì The Consumer Financial Protection Bureau's November 2015 monthly research focusing
2                 on the Ha¡tford, Connecticut metro area identified Bank of America N.4., as the entity with the
 a
                  highest complaints received by the CFPB.3o             E¡. J
 J

4
                               VII. Summa{¡     of Claims Under The FDCPA                  - C. D. E. F. G. or J u

 5
     7.1         Plaintiffs incorporate the preceding paragraphs.

     Claim-l. St¡tute of Limitations.
 6
                 According to Exhibit A2, Green Tfee participates--in a lawsuit filed on July 15ü 2014 on an
 7
                 alleged debt defaulted on September 13ü 2007. Therein atternptingto enforce atime-baned debt.
 8
     Claim-2. Failune to l)isclose.
 9
                 Green Tþee's communicatioq evidenced in Exhibit                     Al,   contains no mandatory disclosure that
10
                 they are debt collectors.
11

     Claim-3. Falsely Representing Valle Owes Ä Debt/Legal Status/Confusion.
t2
                 a. Grrcen Tbee's communication, evidenced                 n    Exhibit A2, ueates a belief in Valle that he owes a
t3
                 debt by placing his name in the coupon for payment to Bank of America, N.A. Valle owes no
t4
                 such debt.
15
                 b. Grrcen Theers communication, evidenc ed                 n   Exhibit A2, creates a belief in Valle that his
t6
                 property is of interest to Bank of America, N.A. Bank ofAmerica, N.A. has no legally
l7
     ÐSee
l8          -                                                                                                                          (lastvisited
     JaNary 8ú 20lO
     3oGeoerrnhic Spotliehft Connecticut
t9   This month, the CFPB hiehlighted Connecticut and the Hartford mstro area for the report's geographic spotlight As of Nov. l, 2015, cotìsumers
     in Connecticut have submitted 8,300 of the 749,400 complaints the CFPB has handled. Ofthose complainls,2,5ü) have come fiom consumers in
20   the Hartford metro area. Findings ñom the Connecticut complaints include:

2t           .   MortB¡ges ür the most-compleined-ebout product: Mortgage-related complaints have been the most+omplained-about product in
                 the Hartford meho area and Connecticut as a whole. Of the 8,300 complaints submilted by consumers in Connecticut, 28 percent have
                 been related to mortgages.
22           .   Moût-comphined-ebout compenies: Bank ofAme¡ic¿, Wells Fargo, Equifax, and Experian were the four most-complained-about
                 companies from consumers in Connecticut.
23
                The Dodd-Frank Wall Street Refonn and Consurner Protection Acl, which created the CFPB, established consumer complaint handling
24   as an integral partofthe CFPB's work. The CFPB began accepting complaints as soon as it opeired its doors four years ago in July 2011. It
     curently accepts complaints on many consumer financial products, including credit cards, mortgages, bank accounts and services, private student
     loans, vehicle and other consumer loans, credit reporting money transfers, debt collectior¡ and payday loans. The Bureau expects companies to
25   respond to complaints atrd to describs the steps they have taken or plan ûo take to resolve the complaint within 15 days ofreceipt. The CFPB
     cxpects companies to close all but the most complicated complaints within 60 days. In June 2012, the CFPB launched its Corsumer Complaint
26   Database, which is the ndion's largest public collection of consumer financial complaints. When consumers submit a complaint they have the
     option to shae publicly their explanation ofwhat happened. For more individual-level complaint data and to read consumen'experionces, go to
27   tlre Consumer Complaint Databæe    at:                                                  . See -
                                                                                    (last visited Janu wl 16 2016)

28   stOr
            any subdivision.


     .e
     VERIFIED     CLAIMS                                                                                                Nelson V¿lle

                                                                                                                        "ífff"fåiiffi;'
                                                                                                                        +305 791.8959 phone
                                                                                                                        rvv22@live.øm
                  Case 3:16-cv-00277-SRU Document 1 Filed 02/22/16 Page 10 of 11




 1               enforceable interest in Valle's property. Neither is there anything evidenced in public record to

 2               the   same.32

J    Ctaim-4. Dual CapacitylDual Pay-Offs/Confusions.
4                a. The communication(s) uses terms like, "note holder"o "lender", "insurance policy"; The

 5               language is creditor related but thei¡ mandatory disclosure in their second communication

 6               indicates that they are debt collectors. The communication is confusing because it implies that

 7               Green Trpe can be both a creditor and a debt collector on the same alleged debt; while

 I               concurrently maintaining that Bank of America, N.A. [privatelyl and Bank of New York

 9               Mellon, [publicly] are also the creditors.
l0               b. Green Thee's representation that they are the "note holder" is at opposite to their public

11               representations that imply that Bank of New York Nlellon is the "note holdet'' causing a belief in

T2               the Consumer that Green Tree maintains there are more then one and causing confusion.

13               c. Green Thee furnishes communications that directs the Consumer to 'þay                                off'two      different

t4               entities----creating a belief in the Consumer that the only way to settle the matter would be with

15               the entity alleging a debt is owed--concurrently providing two different claimants on said debt.

t6   Claim-S. Advancing A F'alse Claim/Concealmenff nterference/Confusion.

t7               Green Thee confirms that they are collecting in favor of Bank of America, N.A. [2015] and that

18               they have filed to initiate judicial action. Green Tfee, however, has provided certified

I9               representations to the Consumer, a few federal Judges [2015] and a few state Judges3a

20               I20l4l20l5l that they have at all time acted in favor of another entity-Bank of New York
2l               Mellon and otherwise conceated that they have quietly sought Judicial ORDERS in favor of
22               Bank of America, N.A. This deceptive and conflicting representations impeded Valle in settling
23               matters as he could not affnmatively establish the true party alleging a debt claim.

24   7.2         Actual I)amages. As a direct and proximate result of the defendants'collection activity, the
25   32Note:
            Green Tree ìilatrts it both ways. They dun Valleprtvateþ ,while steering him in multiple directions, so æ to conñtse him and his principal
     while denouncing that he hæ any interest whatsoever in the collection actions at issuepzblicly; Efreúively denying him a voice in law, equity
26   and federal statute.
     33When Valle maintains that he wæ cont¡sed.   it is meant that he was unable to determine how to intelfigently respond to the defendant's
     communication-a.s he was ñ¡mished conflicting representalions, uncertain about who wæ who. These multiple premises as to who was the
27
     alleged "creditor"--Green Tfee, Bank ofÁmerica, N.A. and/or Bank of New York, etc., impeded in his ability otherwise settle the matter with
     the party sufüciently æserting a valid debt claim.
28   3aunder
              the penaltios of perjury.

                 CLATMS
     '   10
     VERII'IED                                                                                                             Nelson Valle

                                                                                                                           ,*,::.Tåiïä,î.
                                                                                                                           +305 791.8959 phone
                                                                                                                           rw22(ãlive.cnm
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 1   Consumer has sufFered actual damages including but not limited to-enormous emotional distress;

2    insomnia, outrage, irritability, confusion, apprehensiveness, nervousness ) îngeq confusion, restlessness

J    resulting in withdrawing of positive relations. ln furtherance, the defendant have intruded on the

4    Consumer's privacy awhile effectively coercing Valle to enjoin in a power relationship to which he has

 5   felt unlawfully at its mercy.

 6                                                  VlI.   Claim UndeTCUTPA
 7   8.1     Plaintiffincorporatesprecedingparagraphs.

 I   8.2     Grcen Tree at all times material, performed and engaged in conduct constituting trade and

 9   commerce utilizing the U.S mails to assist them to that end.

10   Claim-6. The Defendant's Víolations of Federal Law Concurrently Violates Connecticutts Unfair
11   T[ade and Deceptive Pr¡cticæ Act.
T2   8.3     Ascertainable Loss. As a direct and proximate result of the defendants collection actions,

l3   mental tranquility has been disturbed. Valle has sustained loss which include but not limited to costs and

t4   time incurred in responding to the defendants'unlawful collection communications and conduct that

15   would have otherwise not been expended-administrative costs; 100+hours of document review and

t6   correspondences, paper, ink, postage, travel expenses, certified copies, purchased resoutces, missed

t7   income opportunities, missed travel and en¡ichment opportunities, posþoned educational pursuits, etc.

t8
                                                 rx.
t9      ¡.   a   Judgment - entered against Green Tree.
20      b.   Statutory damages - $1,000 under the FDCPA to be determine by the Court.
        c.   Statutory damages           -   most allowable under CUTPA to be determine by the Court.
2l
        d.   Actual damages - under the FDCPA to offset Green Tree's debt collection the unlawful
22           procurement of Valle's property.

        e    Actual damages      -   under the FDCPA for emotional disfiess to be determine by    a   jury of Valle's
23
             peers.
24      f.   Punitive damages            to be determined by the Court.
                                     -
25      g.   Injunctive relief   -   under CUTPA enjoining defendant to cease violating Valle and his property,
        h.   Filing fees, costs and attomey fees, as they may bare, under the FDCPA.
26
        t.   Any further relief that is proper and just under the circumstances.
27

28
     VERIFIED CLAIMS                                                                                   Nelson Valle
     - 11                                                                                               c/o 66 Montowese St.
                                                                                                       Hartfo¡d, CT 0ól 14
                                                                                                       +305.791.8959 phone
                                                                                                        rwû2@Ilve.qm
